                                                 Sygnus Corp.                                                Fight Holdings Inc.                                  Roto/Sportsgrid Founders


          Local                                  73.4%                                                              24.6%
                                                                                                                                                                       2%
       management
                                                                                                                                                                                                                Nora Media SRL
                                                                                                      Anthem Sports & Entertainment Corp.                                                                            (Italy)
                5.0%                                                                                               (Ontario)
                                                                                                         Amalgamated with Fight Media Group Inc.                    100%
      FN Televizyon ve Reklamcilik A.S.
                  (Turkey)                                       100.0%                                                                                                       Fight Media Inc. (Ontario)
                                                                                           Roto/Sportsgrid
                                                                                             Founders                                                                       CRTC License for FN in Canada
                                                                100.0%                                                                                                                                              49%
       NAM Televizyon ve Reklamcilik
              A.S. (Turkey)
                                                                                                                                                                                                     51%
                                                                   Fantasy Sports Media Group Inc.
                                                                              (Ontario)                                                               Anthem Media Productions Inc.
                                                                                                                         100%
                                                                                                                                                               (Ontario)                               Fight Network Italy SRL
                             2380392 Ontario Inc.                                                                                                                                                            (Fight Italy)
                                  (Ontario)
                                                                                                                                   The GameTV Corporation
                                                                                                                                          (Ontario)

                                                                                                                                                        100.0%
                     2380393 Ontario Inc.
                                                           Roto/Sportsgrid
                           (Ontario)                         Founders                                              U.S Anthem
                CRTC License for Edge in Canada                                                                    (Delaware)                                                                 Anthem Media Holdco, INC.
                                                                                                                                                                                               (Delaware – Corporation)

                             Fantasy Sports Network Inc.
                                                                                           80%
   DDML Fantasy                      (Delaware)                                                                         100.0%                                          BAMA Media
       Sports
                                                                                                                                                                        Ventures LLC
   Enterprise, LLC
                                          100.0%
                                                                                                                  Fight Media Inc.                 MR Media LLC
                                    RotoGrid LLC
                                                                                                                    (Delaware)
                                      (Delaware)                                                                                                                                          41.67%            82.0%
                                                                                                         (formerly MCC Acquisition Corp.)
                             Owner of rotoexperts.com and
                       50%
                                   sportsgrid.com                                            50%                                                                                                                          
                                                                 100%
   Adam Hummell                                                                                                          100%
                                           35%
                                                                                  My Combat                                                                                                                                
                       15%                                                        Channel Inc.
                                                                                   (Nevada)
                                    DailyRoto, LLC                                                               Anthem Wrestling
                                     (Delaware)                                                                  Entertainment LLC
                                                                                                                                                                  Pursuit Media TV, LLC                 Pursuit Channel, LLC
                                                                             Fantasy Management                                                                        (Alabama)                             (Alabama)
                                                                                   (Ontario)


CONFIDENTIAL                                                                                                                                                                                               ANTH-0012566_0001



                                            Case 3:18-cv-00749 Document 167-2 Filed 06/12/20 Page 1 of 1 PageID #: 2443
